VERDICT FORM A

On plaintiff Lisa Benson Cooper’s claim against Scripps Media, Inc. that she was denied

4 promotion to weekend moming anchor in 2013 based on her Tace, as submitted in Instruction

No, 17, we find in favor of

PEFEADANT-

(Plaintiff Lisa Benson Cooper) or (Defendant Scripps Media, Inc.)

Inc., please sign and date this

We find that Plaintiffs employment would have ended because of her own misconduct that

Defendant discovered after the decision not to promote her to the weekend morming anchor.

 

YES NO

 

We find plaintiff Lisa Benson Cooper’s damages, as defined in Instruction No, 21, to be:
$

 

(state the amount or, if none, write the word “none”).

NOTE: You may not award

punitive damages unless
and awarded the plai

you have first found against the defendant
ntiff damages in the prec

eding paragraph.

We assess punitive damages against defendant Scripps Media, Inc., as defined in Instruction No.
24, as follows:

 

 

$ (state the amount or, if none, write the word “none”),
Foreperson

4
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VERDICT FORM B
On plaintiff Lisa Benson Cooper’s claim against Scripps Media, Inc. that she was denied
a promotion to consumer investigative reporter in 2015 based on her race, as submitted in

Instruction No. 17, we find in favor of

DEFEMDAWT
(Plaintiff Lisa Benson Cooper) or (Defendant Scripps Media, Inc.)

NOTE: Complete the remainder of this Verdict Form only if your finding is in favor of the

plaintiff Lisa Benson Cooper. If your verdict is in favor of Defendant Scripps Media,

Inc., please sign and date this Verdict Form B because you have completed your
deliberation on this claim.

We find that Plaintiff's employment would have ended because of her own misconduct that

Defendant discovered after the decision not to promote her to consumer investigative reporter.

YES NO

We find plaintiff Lisa Benson Cooper’s damages, as defined in Instruction No. 21, to be:

$ (state the amount or, if none, write the word “none”).

NOTE: You may not award punitive damages unless you have first found against the defendant
and awarded the plaintiff damages in the preceding paragraph.

We assess punitive damages against defendant Scripps Media, Inc., as defined in Instruction No.

24, as follows:

(state the amount or, if none, write the word “none”).

Foreperson

 

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VERDICT FORM C

On plaintiff Lisa Benson Cooper’s claim against Scripps Media, Inc. for retaliation based

on her 2015 Suspension, as submitted in Instruction No. 18, we find in favor of

PLAIWTCFEE

(Plaintiff Lisa Benson Cooper) or (Defendant Scripps Media, Inc.)

NOTE: Complete the remainder of this form onl
plaintiff, Lisa Benson Coop
Inc., please sign and date
deliberation on this claim.

y if your finding above is in favor of the
er. If your verdict is in favor of Defendant Scripps Media,
this Verdict Form C because you have completed your

We find plaintiff Lisa Benson Cooper’s damages, as defined in Instruction No. 22, to be:

$ | ,bO0 . OG (state the amount or, if none, write the word “none”).

NOTE: You may not award punitive damages unless you have first found against the defendant
and awarded the plaintiff damages.

We assess punitive damages against defendant Scripps Media, Inc., as defined in Instruction No.

24, as follows:

$ 5a y 666+ (state the amount or, if none, write the word “none”),

pact 2[p/ 709 MAL Uy

Foreperson

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VERDICT FORM D

On plaintiff Lisa Benson Cooper’s claim against Scripps Media, Inc. for retaliation based

on the nonrenewal of her contract, as submitted in Instruction No. 19, we find in favor of

PuAwoT FE

(Plaintiff Lisa Benson Cooper) or (Defendant Scripps Media, Inc.)

NOTE: Complete the remainder of this form only if your finding above is in favor of the
plaintiff, Lisa Benson Cooper. If your verdict is in favor of Defendant Scripps Media,
Inc., please sign and date this Verdict Form D because you have completed your
deliberation on this claim.

We find that Plaintiffs employment would have ended because of her own misconduct that

Defendant discovered after the decision not to renew her 2017 contract.

YES Vv sno

 

 

We find plaintiff Lisa Benson Cooper’s damages, as defined in Instruction No. 23, to be:

$ 25 ,o0o,00 _ (state the amount or, if none, write the word “none”).

NOTE: You may not award punitive damage

Ss unless you have first found against the defendant
and awarded the plaintiff damages.

We assess punitive damages against defendant Scripps Media, Inc., as defined in Instruction No,

24, as follows:

$ 125, O00, ©° (state the amount or, if none, write the word “none”),

Dated:_ 2/8/2014 WiLL of LL,

Foreperson

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